      Case 6:12-cr-00005-JRH-CLR Document 77 Filed 06/18/12 Page 1 of 3




               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                          STATESBORO DIVISION


UNITED STATES OF AMERICA )

V.                                         )   Case No. CR612-005

ANTONNIO LAMONT MURRAY )


                                      ORDER

       Following the Court's denial of Murray's original ex parte motion

for funding to hire a DNA expert (doc. 61),' he has tendered two

additional motions, the second of which more thoroughly explains why

the appointment of an expert is necessary to his defense. (Docs. 70 &

72.) The government, according to Murray, recovered DNA evidence

from a beverage can discovered in the home of one of his alleged

kidnapping victims. (Doc. 72 at 1.) In order to refute that evidence,

he needs an expert. The government does not object to such testing.

      1 Since Murray's latest filings are not under seal, the Court sees no reason to
maintain his initial motion as sealed. The cat is out of the bag. Accordingly, the Clerk
is DIRECTED to unseal his first motion for appointment of a DNA expert. (Doc. 60.)
Since the order denying that motion (doc. 61) addressed a separate matter, it shall
remain under seal until the conclusion of this case.
      Case 6:12-cr-00005-JRH-CLR Document 77 Filed 06/18/12 Page 2 of 3




(Doc. 74 at 1-2.)

       The Court GRANTS Murray's motions, since he has shown that

the services of a DNA expert are necessary for adequate

representation.' Nevertheless, the Court DENIES his request for

funding of "not less than $5,000." (Doc. 72 at 2.) The burden is upon

the defendant to show that he requires services of an unusual character

and duration. Absent such a showing, he cannot exceed the $2400

statutory maximum. 18 U.S.C. § 3006A(e)(3). Murray has failed to

offer any explanation for his $5,000 request, nor has he suggested that

he has made any effort to locate an expert willing to perform the

analysis for a fee that does not exceed the statutory cap. The Court,

therefore, is not inclined to seek approval from the Chief Judge of this

Circuit for excess payment, a step required by § 3006A(e)(3).


      2
         An indigent defendant is entitled to public funding for the services of an
expert when he establishes that such services are "necessary for adequate
representation." 18 U.S.C. § 3006A(e)(1); see United States v. Mentzos, 462 F.3d 830,
839 (8th Cir. 2006) (citing United States v. One Feather, 702 F.2d 736, 738 (8th Cir.
1993) ("[T]he defendant bears the burden of demonstrating that [the expert's]
services are necessary to an adequate defense.")); United States v. Sanchez, 912 F.2d
18, 22 (2d Cir. 1990) (same) (citing United States v. Norwood, 798 F.2d 1094, 1100 (7th
Cir. 1986)); United States v. Greschner, 802 F.2d 373, 376 (10th Cir. 1986); United
States v. Valtierra, 467 F.2d 125, 126 (9th Cir. 1972).

                                           2
    Case 6:12-cr-00005-JRH-CLR Document 77 Filed 06/18/12 Page 3 of 3




     Counsel, then, is authorized to spend up to $2400 for the services

of a forensic DNA expert. He may obtain the appropriate CJA forms

for payment of the expert's expenses directly from the Clerk.

      SO ORDERED this            g71 day of June, 2012.



                                        UNITED "TES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA




                                    3
